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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA



LEZMOND MITCHELL,                                    Civil Action No. 07-02145-TSC

                          Plaintiff,

             v.

MICHAEL B. MUKASEY, et al.,

                          Defendants.



                        PLAINTIFF’S STATUS REPORT

      Undersigned counsel for plaintiff Lezmond Mitchell hereby files this Status
Report pursuant to this Court’s October 6, 2017 Minute Order.
      On September 15, 2017, the Court received a document, purportedly from
Mr. Mitchell, requesting that Mr. Mitchell be removed as a plaintiff from this
lawsuit. Dkt. No. 14.
      On October 6, 2017, the Court issued a Minute Order instructing counsel to
confer with Mr. Mitchell about his pro se filing and to file a status report by
December 1, 2017 advising the Court of Mr. Mitchell’s awareness “of the legal
consequences attendant to his withdrawal from this lawsuit.” 10/06/2017 Minute
Order.
      On November 8, 2017, undersigned counsel travelled from Los Angeles,
California to Terre Haute, Indiana to meet with Mr. Mitchell on November 9,
2017. Due to some undisclosed incident at the United States Penitentiary at Terre
Haute, where Mr. Mitchell is confined, the prison was placed on “lock down”



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status, and counsel was not permitted to meet with Mr. Mitchell.
      On November 22, 2017, counsel requested an enlargement of time to meet
and confer with Mr. Mitchell. Dkt. No. 17. The Court granted counsel’s request
on November 24, 2017, and ordered counsel to file this status report by February 1,
2018. 11/24/2017 Minute Order.
      On January 8, 2018, undersigned counsel and co-counsel Deputy Federal
Public Defender Celeste Bacchi, traveled from Los Angeles, California to Terre
Haute, Indiana for a scheduled legal visit with Mr. Mitchell on January 9, 2018.
While at the prison on January 9, 2018, counsel were informed by prison staff that
Mr. Mitchell had refused to leave his cell and would not meet with counsel.
      Given counsel’s inability to communicate with Mr. Mitchell at the present
time, counsel cannot make any representations as to Mr. Mitchell’s knowledge or
understanding of the legal consequences of his withdrawal from this lawsuit or his
competency to make this decision.


                                    Respectfully submitted,

                                    HILARY POTASHNER
                                    Federal Public Defender
                                    for the Central District of California


DATED: February 1, 2018         By /s/ Jonathan C. Aminoff
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